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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
SIGALIT YEHUDA,                                                        :
                                                                       : 21-cv-08921 (MMG)
                          Plaintiff,                                   :
                                                                       :
                  v.                                                   : PLAINTIFF’S OBJECTIONS
                                                                       : TO ACCOUNTING
JOSSEF KAHLON                                                          :
                                                                       :
                          Defendant/                                   :
                          Counterclaim Plaintiff,                      :
                                                                       :
                  v.                                                   :
                                                                       :
AVRAHAM YEHUDA,                                                        :
                                                                       :
                          Counterclaim Defendant.                      :
----------------------------------------------------------------------x

       Plaintiff Sigalit Yehuda, by her attorneys, Gordon & Haffner, LLP, hereby submits her

following objections to Defendant Jossef Kahlon’s (“Kahlon”) Notice Regarding Verified

Statement of Accounting” dated October 18 2024 (DE #109). A copy of the Notice and its ten

referenced relevant “self-explanatory” documents produced (the “Notice”) are attached

collectively hereto as Exhibit A.

                                    GENERAL OBJECTION

       The Notice is not an accounting but instead Kahlon’s collection and production of three

(3) single page 1099-Misc. forms and seven (7) single page Schedule C forms.

                                    SPECIFIC OBJECTIONS

       1.      The Notice lacks the required “double-entry” accounting.

       2.      No profit & loss statements or balance sheets are provided (tax returns are not

considered financial statements for these purposes).

       3.      No reconciliations are included.
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       4.      No ledgers or back-up are included.

       5.      No schedule of annual expenses incurred and paid or back-up are included.

       6.      The figures on the tax forms produced are not verifiable as presented.

       7.      Books and records according to GAAP on an accrual basis with receipts, invoices,

or general ledger are not included.

       8.      No schedule of assets is included, including real property records.

       9.      No statement of capital contributions are included.

       10.     No company bank statements or copies of checks are included.

       11.     No company brokerage statements or trade confirmations are included.

       12.     No company credit card statements are included.

       13.     The period covered was from 2004 through October 13, 2024, the date of the

Statement, yet missing are any documents or information for the period 2004 through 2007 and

the period 2018 to October 13, 2024.

       14.     Also missing is a verified statement of annual distributions, dividends, income,

or other compensation taken or received by Kahlon.

       15.     The above objections are without prejudice to Plaintiff’s further objections

following receipt of a proper verified itemized statement of account. All rights are reserved.

Dated: December 11, 2024

                                             GORDON & HAFFNER, LLP
                                             Attorneys for Plaintiff

                                             By: /s/ Steven R. Haffner______
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VIA ECF

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